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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

TRICIA DANE,                                     )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )   Case No. 4:23-cv-00521
                                                 )
MERCY JEFFERSON,                                 )
                                                 )
        Defendant.                               )

                                   NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, Defendant Mercy Jefferson1

(“Defendant” or “Mercy”) hereby gives notice of the removal of the above-styled action to this

Court from the Circuit Court of Jefferson County, State of Missouri. In support of its Notice of

Removal, Defendant states as follows:

        1.      A Petition for Damages was filed October 26, 2022, in the Circuit Court of

Jefferson County, State of Missouri, styled Tricia Dane v. Mercy Jefferson, Case No. 22JE-

CC00858 (hereinafter “the Complaint”).

        2.      Defendant Mercy was served with a summons and a copy of the Complaint on April

12, 2023.

        3.      This Notice of Removal is timely because it is filed within the thirty-day period

prescribed by 28 U.S.C. § 1446(b).




1
 MHM Support Services is the entity that employed Plaintiff and is the proper defendant in this
matter. Mercy Jefferson was not Plaintiff’s employer.

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          4.   Venue of this civil action is proper in this Court pursuant to 28 U.S.C. §§ 1391 and

1441(a) because Plaintiff filed her Complaint in the Circuit Court of Jefferson County, Missouri,

which is located in the Eastern District’s jurisdiction.

          5.   In her Complaint, Plaintiff purports to bring claims for employment discrimination

under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. See Complaint at Counts

IV and V.

          6.   Pursuant to 28 U.S.C. § 1441(a), claims or causes of action presented in state court

proceedings where the district courts of the United States have original jurisdiction founded on a

claim or right arising under the Constitution, treaties, or laws of the United States are removable

without regard to the citizenship of the parties.

          7.   This Court has original subject matter jurisdiction over this action and, therefore,

removal of this action is authorized by 28 U.S.C. §§ 1331 and 1441. See Parks v. Barnes-Jewish

Hosp., 2021 WL 4635163 (E.D. Mo. Feb. 9, 2021) (Title VII claims may be removed to federal

court).

          8.   Plaintiff also purports to bring state law claims pursuant to Missouri state law, i.e.,

the Missouri Human Rights Act, § 213.010, RSMo, et seq. See Complaint at Counts I, II and III.

          9.   If a district court has federal question jurisdiction over a complaint that also

contains state law claims, the district court may exercise supplemental jurisdiction over those state

law claims that are part of the same “case or controversy” as the federal claims. 28 U.S.C. §

1367(a). The “same case or controversy” requirement means the federal and state law claims must

share a common nucleus of operative facts, such that the plaintiff would be expected to litigate the

claims together in the same proceeding. ABF Freight Sys., Inc. v. Int’l Bhd. Of Teamsters, 645

F.3d 954, 963 (8th Cir. 2011).



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         10.   Accordingly, this Court may, and should, exercise supplemental jurisdiction over

Plaintiff’s state law claims, as these also arise from the same set of operative facts on which her

federal claims are based.

         11.   Pursuant to 28 U.S.C. § 1446(d), Defendant has given written notice of its filing of

this Notice to Plaintiff. Defendant will also promptly file a copy of this Notice with the Circuit

Court of Jefferson County, State of Missouri.

         12.   Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served

on Defendant and those retrieved by the undersigned counsel from Missouri Case.Net are attached

to this Notice as Exhibit A.

         WHEREFORE, Defendant Mercy Jefferson, by and through its counsel, desiring to remove

this civil action of the United States District Court for the Eastern District of Missouri, Eastern

Division, prays that the filing of this Notice of Removal, the giving of written notice thereof to

Plaintiff, and the filing of a copy of this Notice of Removal with the clerk of the Circuit Court of

Jefferson County, State of Missouri, shall effect the removal of said civil action to this Honorable

Court.

                                                     Respectfully submitted,

                                                     OGLETREE, DEAKINS, NASH,
                                                     SMOAK & STEWART, P.C.

                                                      /s/ James M. Paul
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                                                     ATTORNEYS FOR DEFENDANT



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                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on April 24, 2023, I electronically filed the above
and foregoing document using the Court’s e-filing system and emailed it to the following:

 Kristine Shilt
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 Lee’s Summit, MO 64086
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 Attorney for Plaintiff




                                                   /s/ James M. Paul
                                                   An Attorney for Defendant




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